Case 18-50346-sms   Doc 21   Filed 03/05/18 Entered 03/05/18 14:25:31   Desc
                                  Page 1 of 4


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

     IN RE: ADRIAN STAFFORD VERWAYNE,          {   CHAPTER 13
                                               {
                                               {
             DEBTOR(S)                         {   CASE NO. A18-50346-BEM
                                               {
                                               {   JUDGE ELLIS-MONRO


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. The Debtor(s)' plan does not provide for payment of
     all of the Debtor(s)' disposable income to the Trustee for
     thirty-six (36) or more months as required by 11 U.S.C. Section
     1325(b)(1)(B).

          3.   As unsecured creditors may receive less than in a
     Chapter 7 liquidation, the plan may not conform to 11 U.S.C.
     Section 1325(a)(4).

          4. The proposed plan provides for the monthly payment(s)
     to secured creditor(s) to increase upon the completion of the
     payment of attorney fees. However, the plan fails to provide a
     date certain for when this increase should occur, thereby
     preventing the Trustee from properly administering the plan.

          5. Schedule I (Income) may fail to accurately reflect new
     employment for the Debtor since original Schedules filed, in
     violation of 11 U.S.C. Section 1329 and Bankruptcy Rule 1007.

          6. The Debtor has failed to disclose the transfer of a
     security interest in real property in November of 2017 on
     Statement of Financial Affairs Question #10, in possible
     violation of 11 U.S.C. Section 521(a)(1)(B)(iii) and Section
     1325(a)(3).



     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     brandik@atlch13tt.com
Case 18-50346-sms   Doc 21   Filed 03/05/18 Entered 03/05/18 14:25:31   Desc
                                  Page 2 of 4

          7. Pursuant to information received from the Georgia
     Department of Revenue, 2016 state tax returns have not been
     provided to the taxing authorities; thereby, preventing the
     Chapter 13 Trustee from evaluating the feasibility of the
     Chapter 13 plan, in violation of 11 U.S.C. Sections 1322(d) and
     1325(a)(6).

          8. The Chapter 13 budget reflects a $150.00 per month pet
     expense, an expense amount that may be excessive and unnecessary
     for the maintenance or support of the Debtor(s) in a composition
     Plan, in violation of 11 U.S.C. Section 1325(a)(3).

          9. The Debtor(s)’ Chapter 13 plan and schedules are
     inaccurate and/or incomplete; the Trustee is unable to determine
     either the duration or feasibility of the proposed plan. 11
     U.S.C. Sections 1322(d) and 1325(a)(6); specifically, the Debtor
     checked both boxes in Part 1, Section 1.3 and the dates on which
     the increases in payments to the City of Atlanta, Freedom
     Mortgage, SRS Promenade, LLC and Flagship Credit Acceptance is
     unclear.

         10. The Chapter 13 budget fails to provide for the monthly
     expenses of post-petition income tax liability for the Debtor
     and the Debtor’s non-filing spouse’s contract and on self-
     employment income and tax escrow slips have not been submitted;
     thereby, indicating that the proposed budget and Plan are
     infeasible, 11 U.S.C. Section 1325(a)(6).

         11. The Chapter 13 Plan fails to provide for the
     appropriate pool of funds or dividend to the unsecured
     creditors, as required by 11 U.S.C. Section 1325(b)(1)(B).
     Specifically, the 22C Form reflects disposable income of
     $252.77, thus necessitating an unsecured pool of $15,166.20.

         12. Due to a change in circumstances since filing,
     Schedules I and J do not correctly reflect the current financial
     situation, thereby preventing the Trustee from evaluating
     feasibility, 11 U.S.C. Section 1325(a)(6); specifically, the
     Debtor is no longer employed with Lowe’s.

         13. Pursuant to Debtor(s) testimony, the monthly expense
     for Lowe’s wages income taxes are less than that reflected on
     Schedule J so that the Debtor has $79.00 in additional
     disposable income to contribute to the plan. 11 U.S.C. Sections
     1325(a)(3) and 1325(b)(1)(B).

         14. The Debtor(s) proposes to retain real property with
     significant pre-petition arrearage and nominal equity, while

     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     brandik@atlch13tt.com
Case 18-50346-sms   Doc 21   Filed 03/05/18 Entered 03/05/18 14:25:31   Desc
                                  Page 3 of 4

     proposing a composition plan. Based on the foregoing, the
     proposed plan may violate 11 U.S.C. Section 1325 (a)(3).

         15. The Chapter 13 budget fails to include expenses for the
     Debtor’s second mortgage; thereby, possibly rendering the
     proposed Chapter 13 plan payment to be infeasible, in violation
     of 11 U.S.C. Section 1325(a)(6).

         16. The funding of post-petition mortgage payments has not
     been maintained in the above-styled Chapter 13 case; thereby,
     rendering the present budget and proposed Plan infeasible, 11
     U.S.C. Section 1325(a)(6).

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.




                                      __________/s/_____________
                                      Brandi L. Kirkland, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 423627




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     brandik@atlch13tt.com
Case 18-50346-sms   Doc 21   Filed 03/05/18 Entered 03/05/18 14:25:31   Desc
                                  Page 4 of 4


     A18-50346-BEM

                              CERTIFICATE OF SERVICE


           This is to certify that I have this day served

     DEBTOR(S):

     ADRIAN STAFFORD VERWAYNE
     130 WYNFIELD WAY
     ATLANTA, GA 30331

     ATTORNEY FOR DEBTOR(S):

     KING & KING LAW LLC
     215 PRYOR STREET
     ATLANTA, GA 30303  

     in the foregoing matter with a copy of this pleading by
     depositing in the United States Mail a copy of same in a
     properly addressed envelope with adequate postage thereon.

     This 5th day of March 2018




                /s/             ___
     Brandi L. Kirkland, Attorney
     for Chapter 13 Trustee
     GA Bar No. 423627




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     brandik@atlch13tt.com
